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             IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION

                                     *•
MELINDA BEAZLEY PEARSON,
                                     ★


                                     ★
        Plaintiff,
                                     ★



             V.                     *            CV 114-110
                                     ★


                                     Vf
AUGUSTA, GEORGIA, et al.,
                                     ★


                                     ★
        Defendants.




                                ORDER




     On March 1, 2022, the Parties filed a mediation status report.

(Doc. 297.)       The Parties report that mediation was unsuccessful,

but efforts continue.      (Id. at 1.)

     The Parties are reminded that in the Court's December 9, 2021,

and February 11, 2022 Orders, the last day for filing civil motions

in this case, including Daubert motions but excluding motions in

limine, is April 1, 2022.     (Docs. 290, 296.)    That deadline remains

firm.     Any civil motion, except motions in limine, not filed by

April 1, 2022 will not be considered.

     ORDER ENTERED at Augusta, Georgia, this                     of March,

2022.




                                                              tIEF JUDGE
                                          UNITED SPATES DISTRICT COURT
                                                   DISTRICT OF GEORGIA
